                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

Case No. SA CV 19-1610-DOC (JDEx)                                            Date: October 16, 2019

Title: JAMES RUTHERFORD V JADOUA MAIDAA, ET AL


PRESENT: The Honorable DAVID O. CARTER, U.S. District Judge

               Deborah Lewman                                            None
               Courtroom Clerk                                       Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                   ATTORNEYS PRESENT FOR DEFENDANT:
          None Present                                        None Present

PROCEEDINGS (IN CHAMBERS): ORDER TO SHOW CAUSE RE: LACK OF
                           PROSECUTION


        The Court hereby ORDERS plaintiff to show cause in writing no later than October 30,
2019 why this action should not be dismissed for lack of prosecution. As an alternative to a
written response by plaintiffs, the Court will consider the filing of the following, as an
appropriate response to this OSC, on or before the above date:

    •   Motion/Application for Default Judgment

        It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time to respond. If
necessary, plaintiffs must also pursue Rule 55 remedies promptly upon the default of any
defendant. All stipulations affecting the progress of the case must be approved by the Court.
Local Rule 7-1.

        No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a responsive pleading or motion on or before the date
upon which a response by plaintiffs is due.


MINUTES FORM 11
CIVIL-GEN                                                                  Initials of Deputy Clerk: djl




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